 Case 1:24-cv-00008-DAE Document 56 Filed 03/19/24 Page 1 of 5

                                                                                     FILED
                                                                                 March 19, 2024
                                                                             CLERK, U.S. DISTRICT COURT

        United States Court of Appeals                                       WESTERN DISTRICT OF TEXAS

                                                                                              klw
                                                                        BY: ________________________________

             for the Fifth Circuit                                                              DEPUTY

                              ___________                    United States Court of Appeals
                                                                      Fifth Circuit


                               No. 24-50149
                                                                    FILED
                                                              March 19, 2024
                              ___________
                                                               Lyle W. Cayce
United States of America,                                           Clerk


                                                         Plaintiff—Appellee,

                                   versus

State of Texas; Greg Abbott, in his official capacity as Governor of
Texas; Texas Department of Public Safety; Steven C.
McCraw, in his official capacity as Director of Texas Department of Public
Safety,

                                                    Defendants—Appellants,

____________________________

Las Americas Immigrant Advocacy Center; American
Gateways; County of El Paso, Texas,

                                                       Plaintiffs—Appellees,

                                   versus

Steven C. McCraw, in his official capacity as Director of the State of
Texas Department of Public Safety; Bill D. Hicks, in his official capacity
as District Attorney for the 34th District,

                                                    Defendants—Appellants.
  Case 1:24-cv-00008-DAE Document 56 Filed 03/19/24 Page 2 of 5
                                No. 24-50149




               ______________________________

               Appeal from the United States District Court
                    for the Western District of Texas
                          USDC No. 1:24-CV-8
                         USDC No. 1:23-CV-1537
               ______________________________

Before Richman, Chief Judge, Oldham, and Ramirez, Circuit
Judges.
Per Curiam:
       Oral argument is scheduled on March 20, 2024, to consider the
Appellants’ Motion to Stay Preliminary Injunction Pending Appeal. A
majority of the panel has concluded that the administrative stay entered by a
motions panel on March 2, 2024, should be lifted. Accordingly,
       IT IS ORDERED that the administrative stay of this appeal previously
entered by a motions panel on March 2, 2024, is DISSOLVED.




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                                 No. 24-50149




Andrew S. Oldham, Circuit Judge, dissenting:
       A preliminary injunction is an extraordinary remedy that alters the
status quo. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008);
Nken v. Holder, 556 U.S. 418, 429 (2009). A stay preserves the status quo
while an appellate court reviews the lawfulness of that alteration. Nken, 556
U.S. at 429. Earlier today, the Supreme Court of the United States restored
an administrative stay so our panel could review the State’s request for
emergency relief under Federal Rule of Appellate Procedure 8. See United
States v. Texas, No. 23A814 (U.S. Mar. 19, 2024) (Mem.). I would leave that
stay in place pending tomorrow’s oral argument on the question.




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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                              March 19, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50149     USA v. State of Texas
                       USDC No. 1:24-CV-8
                       USDC No. 1:23-CV-1537

Enclosed is an order entered in this case.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
Ms. Munera Al-Fuhaid
Mr. Spencer Amdur
Mr. Anand Balakrishnan
Mr. Maxwell A. Baldi
Ms. Jo Anne Bernal
Mr. Brian Boynton
Mr. Matt A. Crapo
Mr. Bernardo Rafael Cruz
Mr. Philip Devlin
Ms. Susanna Dokupil
Mr. David A. Donatti
Ms. Heather Lee Dyer
Mr. Lee P. Gelernt
Ms. Tamara Goodlette
Mr. Daniel Hatoum
Ms. Amy Snow Hilton
Ms. Kateland R. Jackson
Mr. Omar C. Jadwat
Ms. Jean Lin
Mr. Joseph N. Mazzara
Mr. Aaron Lloyd Nielson
Mr. William Jeffrey Olson
Mr. Francisco Javier Ortega
Mr. Leif Eric Overvold
Ms. Adriana Cecilia Pinon
Mr. Jacob Przada
Mr. Samuel M. Shapiro
Mr. Kyle Tebo
Mr. Daniel Bentele Hahs Tenny
      Case 1:24-cv-00008-DAE Document 56 Filed 03/19/24 Page 5 of 5



Mr. Erin D. Thorn
Mr. Ryan Daniel Walters
Mr. Coy Allen Westbrook
Mr. Cody Wofsy
